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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------- X
                                         :
 IRONSHORE SPECIALTY INSURANCE COMPANY, :
                                         :               20cv1290 (DLC)
                          Plaintiff,     :
                                         :                    ORDER
           -v-                           :
                                         :
 MAXON INDUSTRIES INC., MAXON FLEET      :
 SERVICES CORP., and LAYTON CAPITAL      :
 CORP.,                                  :
                                         :
                          Defendants.    :
                                         :
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DENISE COTE, District Judge:

     On October 20, 2020, counsel for defendants submitted a

letter pursuant to Rule 3.G. of the Court’s Individual Practices

in Civil Cases, noting that a motion has been fully submitted

for sixty days.      The parties are hereby advised that the Court

is aware of the fully submitted motion, and will decide it as

expeditiously as possible.

Dated:       New York, New York
             October 21, 2020


                                    __________________________________
                                              DENISE COTE
                                      United States District Judge
